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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION

ADDIE HARPER CIVIL ACTION NO. 5:14-CV-00479
VERSUS
BIO-MEDICAL APPLICATIONS OF

LOUISlANA, LLC, dba, SHREVEPORT

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* JUDGE: HICKS
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REGIoNAL DIALYsIs cENTER *

MAG. JUDGE: HORNSBY

JOINT MOTION TO DISMISS

 

NOW INTO COURT, through undersigned counsel, comes plaintiff, ADDIE HARPER,
who, upon suggesting to this Honorable Court, that she has reached a compromise settlement
with defendant, BIO-MEDICAL APPLICATIONS OF LOUISlANA, LLC dba SHREVEPORT
REGIONAL DIALYSIS CENTER, and respectfully requests that this Honorable Court dismiss
her Petition for Damages in its entirety, with prejudice

DUDLEY DeBOSIER INJURY LAWYERS
BY: /s/ Stephen T. Collins
Stephen T. Collins (Bar #14955)
4340 Youree Drive
Shreveport, LA 71101
Telephone: (318) 670-7365
Facsimile: (318) 670-7417

Attomeys for Plaintiff, Addie Harper

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TAYLOR, PORTER, BROOKS & PHILLIPS, LLP

BY: /s/ John Stone Cami)bell. III
John Stone Campbell, III (Bar #23 674)
Post Off`lce Box 2471
Baton Rouge, LA 70821-2471
Telephone: (225) 387-3221
Facsimile: (225) 346-8049

Attomeys for Defendant,
Bio-Medical Applications of Louisiana, LLC

